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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

UNITED STATES OF AMERICA

27. ROBERT AVITABILE,
A/K/A “BOBBY,”

FILED EX PARTE AND UNDER SEAL
Plaintiff,

Vv. Criminal No.: 19-10459-RWZ

Nee” Se ee nee” mae nme nee Net”

Defendant.

UNITED STATES’ MOTION TO SEAL

The United States of America, by and through its attorney, Andrew E. Lelling, United

States Attorney for the District of Massachusetts, hereby moves, pursuant to Local Rule 7.2, that

the following documents be filed under seal except (1) as to employees, contract employees, and

agents of the United States Attorney’s Office for the District of Massachusetts, and (2) as to permit

the United States to record any resulting Lis Pendens and Restraining Order with the Registry of

Deeds or similar recording entity, and impounded until further order of the Court:

1,

2.

6.

7.

United States’ Motion to Seal;
United States’ Motion for Post-Indictment Restraining Order;

United States’ Memorandum in Support of Motion for Post-Indictment
Restraining Order;

Proposed Restraining Order;
United States’ Motion for Ex Parte Finding and Endorsement of Lis Pendens;
Proposed Lis Pendens; and

any Order endorsed related to the above mentioned Motions.

As required by Local Rule 7.2, this request is supported by good cause, as public disclosure

of the information contained in said documents could lead to efforts by the owners or possessors

of the asset to transfer, place liens upon, deplete, or otherwise impair the forfeitability of the assets.
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Additionally, pursuant to General Order 06-05 of the United States District Court for the

District of Massachusetts, the United States respectfully moves the Court for an Order allowing

the United States to be provided with copies of all orders, documents, transcripts, and other record

of information filed in this sealed matter.

By:

Dated: December 4, 2019

So Ordered:

 

RYA W. ZOBEL
Senior United States District Judge

Dated:

Respectfully submitted,

ANDREW E. LELLING
United States Attorney

/s/ Carol E. Head -

PHILLIP MALLARD

RACHEL E. GOLDSTEIN

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